                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


Patrick T. Shaughnessy,                                        Case No. 10-75021
                                                               Chapter 7
                  Debtor.                                      Hon. Marci B. McIvor
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Debbie Tomaszewski,

                      Plaintiff,

v.                                                             Adv. Pro. No. 11-4109

Patrick T. Shaughnessy

                  Defendant.
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ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AS TO
     ALL COUNTS IN THE COMPLAINT AND AMENDED COMPLAINT

       This matter came before the Court on Defendant’s Motion for Summary Judgment. For

the reasons stated in an Opinion issued with this Order, as well as an Opinion and Order issued

on August 25, 2011,

       IT IS HEREBY ORDERED that Defendant’s Motion for Summary Judgment is

GRANTED as to all counts in Plaintiff’s Complaint and Amended Complaint.

       IT IS FURTHER ORDERED that Plaintiff’s Complaint and Amended Complaint are

hereby DISMISSED.
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Signed on September 16, 2011




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